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M.ARK J. CHIDESTER,
Plaintiff,
v. No. 02-2556 Ma/A

CITY OF MEMPHIS, et al.,

Defendants.

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ORDER GRANTING IN PART AND DEN'YING IN PART DEFENDANT SHELBY
COU'NTY’S MOTION TO DISMISS PLAINTIFF’S § 1983 CLAIMS AGAINST
SHELBY COUNTY

 

Plaintiff Mark Chidester brings this action under 42 U.S.C. §
1983, alleging that Memphis and Shelby County police officers
violated.his First, Fourth, Sixth, and Fourteenth_Amendment rights.
Chidester also brings state law claims of assault, intentional
infliction of emotional distress, and official misconduct.
Chidester’s complaint names as defendants the City of Memphis;
Shelby County; W.E. Crews in his personal and official capacity as
Director of the Memphis Police Department; A.C. Gilless in his
personal and official capacity as Sheriff of Shelby County;
Sergeant D.L. Bickerstaff in his personal and official capacity as
an officer of the Memphis Police Department; Officer J.H. Thomas in
his personal and official capacity as a deputy of the Shelby County

Sheriff’s Department; Officer Michael R. Reynolds in his personal

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and official capacity as a police officer of the Shelby County
Sheriff’s Department; Sergeant Bennie Morris in his personal and
official capacity as a sergeant of the Shelby County Sheriff’s
Department; and Lieutenant Ken Landry in his personal and official
capacity as a lieutenant and official of the Internal Affairs
Division_of the Shelby County Sheriff‘s Department. Chidester seeks
declaratory relief and compensatory and punitive damages.

Before the court is Defendant Shelby County’s (the “County”)
motion to dismiss, filed on February 11, 2005, in which Shelby
County argues that Chidester’s § 1983 claims against the County
should be dismissed. Chidester responded on February 28, 2005. For
the following reasons, Shelby County's motion to dismiss
Chidester's § 1983 claims is granted in part and denied in part.
I. Background

The following facts are undisputed, unless otherwise noted.
Chidester alleges that on or about December 8, 2001, thirty minutes
after leaving the scene of a car accident, he returned to find that
his vehicle had been towed and police officers were on the scene.
{Am. Compl. at LT IV.l-B.) The police officers on the scene were
Sergeant Bickerstaff, Officer Thomas and Officer Reynolds. (Id. at
q Iv.15.) Chidester turned himself in to Shelby County Officer
Thomas, “stating that he wished to go immediately to jail." (Id. at
H IV.4.) Officer Thomas and Sergeant Bickerstaff attempted to

perform a field sobriety test on Chidester. (Bickerstaff Aff. at

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2.) Sergeant Bickerstaff then entered the front of his police car
while Officer Thomas escorted Chidester to the back door of the
car. (Id.) While Officer Thomas was attempting to get Chidester
into the police car, a “scuffle” between the parties ensued. (Id.)
The precise actions that Officer Thomas took to control Chidester
during the “scuffle” are in dispute.

Officer Thomas then carried Chidester to the back of the squad
car, slammed his head on the trunk and forced Chidester to the
ground. (Am. Compl. at l IV.9, ll.) Officer Reynolds was within 20
feet of Officer Thomas during the incident. (Id. at l IV.16.) All
of these events were filmed by a camera inside Sergeant
Bickerstaff’s police car. (Id. at l IV.lO.) Chidester alleges that
he suffered injuries to his head and inner elbow. (Id. at q IV.l?.)
Chidester also alleges that after the incident Officers Morris,
Reynolds, and. Landry' participated in an. attempt to “cover-up”
Officer Thomas’ alleged excessive use of force by participating in
an inadequate investigation of the arrest. (Id. at T“ IV.30-35.)

Chidester filed his complaint in the district court on July
15, 2002. The case was stayed pending the completion of related
criminal prosecutions. Those matters have been resolved, and the
case was reopened on May ll, 2004. Chidester filed an amended
complaint on. December 22, 2004, adding as defendants Officers
Reynolds, Morris and Landry. Chidester alleges that the attempt by

Officers Reynolds, Morris and Landry to “cover-up” the alleged

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beating is a common practice in the Shelby County Sheriff's
Department and that this departmental policy, which prevents
officers from being held accountable for excessive use of force,
was responsible for Chidester’s beating. (Id. at jj V.E, 39-40.)

In previous orders this court has found that the only
constitutional violation Chidester has stated is the deprivation of
his Fourth Amendment right against use of excessive force. (January
27, 2005, Order on Officer Thomas' Motion to Dismiss and/or Motion
for Summary Judgment at 11.) The court has found that Chidester has
no § 1983 claim for denial of his right to access to courts in
violation of the First and Fourteenth Amendments. (Id. at 8-9.) The
court has also held that Chidester has no § 1983 claim based on a
violation of his Sixth Amendment rights.1 {Id. at 9.)
II. Jurisdiction

Because this case arises under federal law, the court has
jurisdiction under 28 U.S.C. § 1331. The court has supplemental
jurisdiction to adjudicate state law claims arising from a common
nucleus of operative facts under 28 U.S.C. § 1367(a).
III. Standard of Review For Dismissal Under Rule 12(b)(6)

“Under the liberal notice pleading rules, a complaint need
only put a party on notice of the claim being asserted against it

to satisfy the federal rule requirement of stating a claim upon

 

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The court has also held that Chidester has no claims for‘ a civil
conspiracy under §§ 1983 and 1986. (June 14, 2005, Order on Chidester’s Motion
to Reconsider at 11.)

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which relief can be granted.” Memphisl Tenn. Area Locall Am. Postal

Workers' UnionJ AFL-CIO v. City of Memphis, 361 F.3d 898, 902 (6th
Cir. 2004). When considering a motion to dismiss for failure to
state a claim, the court regards all factual allegations in the
complaint as true. Scheid v. Fannv Farmer Candy Shops, Inc., 859
F.2d 434, 436 (6th Cir. 1988). Further, the court must construe the
complaint in the light most favorable to the plaintiffs.” Memphisl
Tenn. Area Local, Am. Postal Workers’ Union, 361 F.3d at 902. If
the plaintiff can prove no set of facts that would entitle him to
relief based on a viable legal theory, the claim will be dismissed.
Scheid, 859 F.2d at 437.

“The Federal Rules of Civil Procedure do not require a
claimant to set out in detail all the facts upon which he bases his
claim.” Conley v. Gibson, 355 U.S. 41, 47 (1957). “To avoid
dismissal under Rule 12(b)(6), a complaint must contain either
direct or inferential allegations with respect to all material
elements of the claim.” Wittstock v. Mark a Van Sile, Inc., 330
F.3d 889, 902 (6th Cir. 2003). There is no increased pleading
standard for claims alleging municipal liability under 42 U.S.C. §
1983. Leatherman v. Tarrant County Narcotics Intelligence &
Coordination Unit, 507 U.S. 163, 165-66 (1993).

IV. Analysis
The County asks the court to dismiss Chidester's § 1983 claims

against it because Chidester has not shown that an official policy

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of the County caused its employees to violate Chidester's
constitutional rights. (Def.'s Mot. at 1.) Because this court has
found that Chidester has no § 1983 claims for deprivations of his
right to access to courts in violation of the First and Fourteenth
Amendments or for violation of his Sixth Amendment rights,
Chidester's § 1983 claims against the County based on those alleged
constitutional deprivations are dismissed.

This court has found that Chidester has stated a claim against
Officer Thomas under § 1983 for a violation of his Fourth Amendment
right against use of excessive force. To state a claim against the
County based on Officer Thomas' alleged excessive use of force,
Chidester's complaint must allege that agents of the County, acting
under color of state law, perpetrated the violation and that their
actions were motivated by a county policy or a policy of inaction.
Memphis, Tenn. Area Local, Am. Postal Workers’ Union, 361 F.3d at
902. Chidester alleges that (1) the County’s Police Officers,
acting under color of law, (2) deprived him of his Fourth Amendment
rights by using excessive force to arrest him, and (3) the County's
policy of deliberate indifference to police beatings, as evidenced
by the County’s failure to investigate this incident properly and
punish the officers responsible, was the moving force behind the
violation.

The County contends that Chidester's factual allegations do

not state a claim for which relief can be granted under § 1983

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because a single incident of misconduct is insufficient to
establish liability. (Def.'s Mot. to Dismiss at 3.) The Supreme
Court, in Pembaur v. City of Cincinnati, said that “a government
frequently chooses a course of action tailored to a particular
situation and not intended to control decisions in later
situations. If the decision to adopt that particular course of
action is properly made by that government%s authorized
decisionmakers, it surely represents an act of official government
‘policy‘ as that term is commonly understood." 475 U.S. 469, 482
(1986). Chidester alleges that the County pursued a policy of non-
action as to his beating, evidenced by its failure to investigate
the incident properly and punish the officers involved. Even
without reference to a kubader policy of inaction, Chidestefs
allegations are sufficient to withstand a motion to dismiss.

The County also argues that Chidester has failed to state a
claim for which relief can be granted under § 1983 because he has
not alleged any facts showing that a County policy or custom led to
the violation. of his rights. (Def.’s Mot. to Dismiss at 2.)
Leatherman v. Tarrant County Narcotics Intelligence & Coordination
Qgi§ established that there is IM) heightened factual pleading
standard for § 1983 claims. 507 U.S. 163, 165-66 (1993). A
plaintiff need not plead every response to a potential defense. gee
v. Haydon, 853 F.2d 418, 424 (6th Cir. 1988). All that is required

is that the complaint “give the defendant fair notice of what the

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plaintiff's claim is and the grounds upon which it rests.” Conley
v. Gibson, 355 U.S. 41, 47 (1957). The Sixth Circuit has previously
held that it is appropriate to interpret the complaint broadly to
find allegations of policy or custom. Memphis, Tenn. Area Local,
Am. Postal Workers Union, 361 F.3d at 903.
V. Conclusion

For the foregoing reasons, defendant Shelby County's motion to
dismiss Plaintiff’s § 1983 claims based on violations of
Plaintiff's Sixth Amendment rights and right to access to courts in
violation of the First and Fourteenth. Amendments is GRANTED.
Defendant Shelby County’s motion to dismiss Plaintiff's § 1983
claims based on violations of Plaintiff’s Fourth Amendment right

against use of excessive force is DENIED.

So ordered this |qx'\ day of June 2005.

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SAMUEL H. M.AYS, JR.
U'NITED STATES DISTRIC'I` JUDGE

 

   

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